Case 23-70113-grs    Doc 47-1 Filed 04/07/23 Entered 04/07/23 16:12:12      Desc
                        Exhibit A - Policies Page 1 of 1



                                      Exhibit A

                                          Policies


                                   Insurance Policies
                                                          Policy    Effective
    Coverage                    Carrier
                                                          Number      Date
  Commercial     Chubb
  General        Chubb
  Property       Chubb
  Auto           Chubb
  Umbrella
  Equipment      Chubb
  Auto           Chubb
  Pollution
  Legal
  Liability
  Equipment
  Workers’       Rockwood Casualty Insurance Company    WC 455928    9/22/2022
  Compensation
